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                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF COLUMBIA

    Mehrangiz Kar and Azadeh Pourzand,

                                     Plaintiffs,

                          vs.                       Case Number: 1:19-cv-02070-JDB

    The Islamic Republic of Iran et al.;

                                     Defendants.


                           DECLARATION OF ALI HAMEDANI



I, Ali Hamedani, state as follows:

       1.      I am a citizen of the United Kingdom and of Iran.

       2.      I am a Senior Presenter/Reporter with the BBC World Service.

       3.      I know Ms. Kar and Ms. Azadeh Pourzand through our collaboration in human

rights work with the Siamak Pourzand Foundation, but our relationship is not limited to a work

relationship. I have gotten to know them, Ms. Azadeh Pourzand especially, on a personal level

and we have become dear friends.

       4.      I am originally Iranian. Growing up, my family and my community had a lot of

respect for the Pourzand family. I cannot emphasize how much I look up to both Ms. Kar and

Mr. Pourzand. Ms. Kar is a well-known and respected human rights lawyer. Ever since I was a

child, I remember hearing about Ms. Kar in the news, fighting hard for human rights in Iran.

       5.      I grew up respecting Siamak Pourzand – as a person, as a passionate writer. As a

young aspiring journalist growing up, I always wanted and needed a role model. Siamak

Pourzand was that person for me. He was a journalist – very creative, very different, and way
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ahead of other Iranian journalists of his generation. In the journalist community, he is known as

being the father of modern Iranian journalism. I aspire to be like him and do what he has done

for journalism.

       6.         Azadeh and I are the same age, from the same generation in Iran. While I didn’t

know her from Iran, we had many mutual friends from the human rights community and grew up

in the same community, so we relate to each other in many ways.

       7.         Like Ms. Kar and Mr. Pourzand, I was also arrested in Iran in 2008 when I was

only 23 years old. As a gay man, I was about to be executed by Iranian government authorities.

As a victim of the regime held captive in the Iranian penitentiary system, I experienced what Mr.

Pourzand experienced when I spent time in prison. Interestingly, Ms. Kar was one of the few

people who spoke about me in the Iranian community to advocate for my release. I understood

that Azadeh was also campaigning in the human rights community for my freedom.

       8.         When I started my career as a journalist for the BBC, I got to know them because

I interviewed them both for various issues pertaining to human rights in Iran. Through my work,

I got to know Azadeh, and we have become best friends.

       9.         I can safely say that when I was in prison, my experience was nothing compared

to some of the horrors, hardships, and trauma that Azadeh has endured over the years as a result

of her parents’ persecution by the Iranian regime. We talk about her experience during our

regular visits. I know she has constant flashbacks of the trauma that she has endured as a result

of her father’s death. That moment - when he committed suicide – that moment is in the front of

her mind every single day. Ten years on, when you talk to her, it is still with her.

       10.        The Iranian regime has destroyed the Pourzand’s family lives in so many ways.

Before the Islamic Revolution, Ms. Kar and Mr. Pourzand were among middle class. After the
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Revolution, both of them lost the lives they had spent years building – they lost their reputations,

their jobs, their wealth, … everything. And when they both tried to establish something and work

despite the circumstances, both of them were arrested. When I speak to Ms. Kar, she’s 77, and

she still needs to work because that regime has ruined their life and their destiny.

       11.     I really think that was has happened to them is… “unfair” cannot even begin to

describe the situation. It is brutal. The Iranian regime has taken away everything – and that

shadow is still over their heads today. For both Azadeh and Ms. Kar, to manage that anger

against the regime and what it has done to their family, while still working hard to achieve

something when it comes to human rights and women’s rights – that takes a lot of courage and I

don’t know how the two of them can still do it.

       12.     In 2002, the Iranian regime forced Mr. Pourzand to make false confessions

against his own family and friends. It was a half-hour TV program called “Identity,” in which

Mr. Pourzand was forced in front of the cameras to speak about himself, his family, and other

modern, young journalists. He was forced to make false claims about himself – that he received

money from the CIA and western services to topple the Islamic Regime, that his wife was

cheating on him after she left Iran, and claims about other journalists, artists, and activists. It was

aired on national television with millions watching. Afterwards, their lives and careers were

over. The show was designed by the Iranian government to destroy their reputation, and in the

meantime use excuses to arrest and interrogate similar thinking individuals. Mr. Pourzand was

used to keep Ms. Kar from Iran. She was better outside than causing problem for the government

like when she was in Iran.

       13.     Still, to this day, the Iranian regime continues to torment Ms. Kar and Azadeh.

The regime continues to name and shame them on state radio and television. Whenever the
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Iranian media wants to talk about the Pourzand family, they run Mr. Pourzand’s forced

confessions again. According to the IRIB (the Islamic Republic of Iran Broadcasting), Azadeh

and Ms. Kar should face the same destiny as Mr. Pourzand. To this day, the state media runs

stories with such ludicrous claims in order to persecute the two women who have devoted their

lives to fighting the regime and pursuing human rights in Iran.

       14.     As a result of the hardship that she has endured, Azadeh is dealing with mental

and emotional breakdowns. She is living with that moment of her father’s death every single day.

When I speak to her, I still see a little girl with immeasurable anxiety. She lives with the pain of

losing her father. I can see that little Azadeh still looking for her father. As a result of what she

went through, since her young age, she suffers from depression, anxiety, and frequent emotional

outbursts. Layers of abuse and destruction forced on Azadeh by the Iranian Regime is enormous.

       15.     As her friend, I meet and speak with Azadeh on a regular basis. Every time we

meet, I see that she’s suffering. That pain is not fading away; it’s only getting worse. Every

single time we speak, there is a mention of her father. He is there – his spirit and memory is still

living with the family all the time.

       16.     I know her father’s death has affected Azadeh’s relationship with others, even her

marriage. That love between father and daughter – she’s still seeking that. That’s an expectation

she still has for her own husband. She didn’t get to have a proper father because he was

imprisoned. Something else I noticed is that, even now it shows after she had a baby, her own

daughter. I can see that her relationship with her daughter is as if she wants to make sure she and

her husband are with the baby all the time. She doesn’t want her daughter to be alone, as she

often was when one of her parents was imprisoned by the regime. Seeing her own daughter has
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made Azadeh reflect on her own childhood and what she suffered constantly. I find that so

interesting, but also so heartbreaking.

   17. Azadeh is working hard to continue her father’s legacy everyday through her professional

work. When Azadeh approached me to help me in my own career, she said she could see her

father in me. She finds a way to empower young people she sees who show her parents’ spirit for

human rights and social justice. She helps journalists like me to continue her father’s legacy, and

women’s rights activists to continue her mother’s work. But that is not all.

   18. If the Iranian regime had not gone after Azadeh’s parents, she would be working

somewhere else. She has had an amazing career all over the world. She had an amazing job in as

a consultant when she finished her advance education. She is graduated from Harvard Kennedy

School of Government with a master’s in public policy (MPP), and she is a graduate of

Nyenrode Universiteit with a master’s in business administration (MBA) focused on

entrepreneurship, but after his father’s extrajudicial killing, she decided to devote herself to work

on Iranian issues – this way, she could be close with her father every day.

   19. While it is amazing what Azadeh is doing, it is also a huge burden for her, financially and

emotionally. Every day she works in the Siamak Pourzand Foundation, she is reliving the trauma

and being reminded of what her father endured. However, she is also working to create

something positive out of it. That is why she has the Siamak Pourzand Foundation – I can see

that she is empowering new Siamak Pourzands, new Mehrangiz Kars. This is a fantastic thing to

do, but also, it’s a constant fight and war, reliving her own trauma over and over again. She

works to empower activists in Iran who work with women's rights, freedom of expression,

LGBT representation, and ethnic and religious minorities. She trains them in advocacy and

human rights campaign work through online seminars or third-country meetings. But when one
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of these freedom fighters gets arrested by the Iranian regime for their work, I can see that she has

a panic attack because she sees her own father and mother in that prisoner. In addition, she is

using his limited funds to grow the foundation and pay his contractors to create more material for

the organization, unfortunately, her financial situation can be described as surviving.

   20. Azadeh’s situation is very complex and admirable. I can see how much she suffers

everyday from the trauma of her father’s persecution. But she also channels that pain to create

her foundation and empower a new generation of leaders who can promote justice and human

rights in Iran. She is tireless in her work. She has completely devoted her life to it!

       I DECLARE UNDER PENALTY OF PERJURY THE FORGOING IS TRUE AND

       CORRECT BASED ON MY KNOWLEDGE, INFORMATION, AND BELIEF.




Executed this 26 day of June, 2021.




                                                       __________________________________

                                                       Ali Hamedani
